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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
MAMBAYE DIOUF,                            )
                                          )                   Civil Action No.
            Petitioner,                   )                   18-10663-FDS
                                          )
            v.                            )
                                          )
JEFFERSON SESSIONS, United States         )
Attorney General, et al.,                 )
                                          )
            Respondents.                  )
__________________________________________)

                                              ORDER

SAYLOR, J.

       In order to give the Court time to consider the matter, unless otherwise ordered by the

Court, petitioner shall not be moved outside the District of Massachusetts without providing the

Court 48 hours’ advance notice of the move and the reason therefor. Any such 48-hour notice

period shall commence at the date and time such notice is filed and expire 48 hours later, except

“[i]f the period would end on a Saturday, Sunday, or legal holiday, the period continues to run

until the same time on the next day that is not a Saturday, Sunday, or legal holiday.” Fed. R.

Civ. P. 6(a)(2)(C). If petitioner is no longer in the District of Massachusetts as of the time of the

issuance of this order, the government shall promptly notify the Court so that the Court may,

among other things, consider transferring the matter to the appropriate district.

So Ordered.



                                                      /s/ F. Dennis Saylor
                                                      F. Dennis Saylor IV
Dated: April 6, 2018                                  United States District Judge
